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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

DONNA KOLODZIESKI,                      :
                                        :     C.A. No.: 1:17-CV-1702-MWB
                   Plaintiff,           :
                                        :
            v.                          :
                                        :
EQUIFAX INFORMATION                     :
SERVICES, LLC,                          :
                                        :
                   Defendant.           :

                                   ORDER


      AND NOW, this 18th day of September 2018, the Plaintiff having filed a

notice of dismissal, ECF No. 24, IT IS HEREBY ORDERED that this action is

dismissed with prejudice as to Defendant Equifax Information Services, LLC.




                                        BY THE COURT:


                                        s/ Matthew W. Brann
                                        Matthew W. Brann
                                        United States District Judge
